Case 2:19-cv-00088-JLS-AFM Document 21 Filed 05/17/19 Page 1 of 5 Page ID #:75



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   5
     Attorney for Claimant
   6 Nicholas Beugg
   7
                             UNITED STATES DISTRICT COURT
   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
                                    SOUTHERN DIVISION
  10
  11 UNITED STATES OF AMERICA,          )           No. 2:19-CV-0088-JLS (AFMx)
                                        )
  12                    Plaintiff,      )
                                        )           STIPULATION TO STAY ACTION;
  13         vs.                        )           PROPOSED ORDER THEREON
                                        )           LODGED CONCURRENTLY
  14   $599,600.00 IN U.S. CURRENCY,    )           HEREWITH
                                        )
  15                    Defendants,     )
                                        )
  16                                    )
                                        )
  17   NICHOLAS BEUGG,                  )
                                        )
  18                    Claimant.       )
       ________________________________ )
  19
  20         WHEREAS, 18 U.S.C. §981(g) provides for a mandatory stay 1) if civil
  21 discovery will adversely affect the ability of the government to conduct a related
  22 criminal investigation or the prosecution of a related criminal case, or 2) if the
  23 claimant is the subject of a related criminal investigation, the claimant has standing
  24 to assert a claim in the civil forfeiture proceeding, and continuation of the forfeiture
  25 proceeding will burden the right of the claimant against self-incrimination in the
  26 related investigation or case; and
  27         WHEREAS, the plaintiff United States government and the Claimant
  28
Case 2:19-cv-00088-JLS-AFM Document 21 Filed 05/17/19 Page 2 of 5 Page ID #:76



   1 Nicholas Beugg agree that grounds for a stay of the instant civil forfeiture
   2 proceeding exist pursuant to 18 U.S.C. §981(g) because of an ongoing related
   3 criminal investigation;
   4          NOW and THEREFORE, and subject to the approval of the Court, the
   5 parties hereby agree and stipulate that:
   6          1.    This civil forfeiture proceeding shall be stayed pending completion of
   7 the government’s related criminal investigation and any related criminal case
   8 initiated thereafter;
   9          2.    All outstanding discovery requests are hereby withdrawn;
  10          3.    The parties shall not file any pleadings with the Court during the
  11 pendency of the stay, except that the government, as of the date this Order is
  12 entered, shall file status reports with the Court every 90 days informing the Court
  13 of the status of its criminal investigation;
  14          4.    Upon completion of its related criminal investigation, and any related
  15 criminal case initiated thereafter, the government shall file a notice with the Court
  16 requesting that the stay be lifted; and
  17          5.    Upon the filing of the above notice by the government, the parties
  18 request the Court to enter an order lifting the stay, so that the case may proceed.
  19          6.    Upon entry of the order lifting of the stay, Claimant shall file his
  20 response to the Complaint within 20 days thereafter, unless that time is extended by
  21 agreement of the parties pursuant to Local Rule 8-3 or otherwise by order of the
  22 Court.
  23
  24 DATED:         May 15, 2019        Respectfully submitted,
  25                                    LAW OFFICE OF ERIC HONIG
  26
                                        /s/ Eric Honig
  27                                    _______________________________
                                        ERIC HONIG
  28                                    Attorney for Claimant Nicholas Beugg

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Case 2:19-cv-00088-JLS-AFM Document 21 Filed 05/17/19 Page 3 of 5 Page ID #:77



   1
       DATED:     May 15, 2019      NICOLA T. HANNA
   2                                United States Attorney
                                    LAWRENCE S. MIDDLETON
   3                                Assistant United States Attorney
                                    Chief, Criminal Division
   4                                STEVEN R. WELK
                                    Assistant United States Attorney
   5                                Chief, Asset Forfeiture Section
   6                                /s/ Brent A. Whittlesey
   7                                BRENT A. WHITTLESEY
                                    Assistant United States Attorney
   8                                Asset Forfeiture Section
                                    [per e-mail authorization granted 5/15/19]
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Case 2:19-cv-00088-JLS-AFM Document 21 Filed 05/17/19 Page 4 of 5 Page ID #:78



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   5
     Attorney for Claimant
   6 Nicholas Beugg
   7
                             UNITED STATES DISTRICT COURT
   8
                            CENTRAL DISTRICT OF CALIFORNIA
   9
                                     SOUTHERN DIVISION
  10
  11 UNITED STATES OF AMERICA,          )            No. 2:19-CV-0088-JLS (AFMx)
                                        )
  12                    Plaintiff,      )
                                        )            [PROPOSED]
  13         vs.                        )
                                        )            ORDER STAYING ACTION
  14   $599,600.00 IN U.S. CURRENCY,    )
                                        )
  15                    Defendants,     )
                                        )
  16                                    )
                                        )
  17   NICHOLAS BEUGG,                  )
                                        )
  18                    Claimant.       )
       ________________________________ )
  19
             Considering the parties stipulation requesting a stay of the instant civil
  20
       forfeiture proceeding pursuant to 18 U.S.C. §981(g),
  21
             IT IS ORDERED THAT:
  22
             1.     The Court finds that grounds for a stay of the instant civil forfeiture
  23
       proceeding exist pursuant to 18 U.S.C. §981(g) because of a related criminal
  24
       investigation;
  25
             2.     This civil forfeiture proceeding shall be stayed pending completion of
  26
       the government’s related criminal investigation;
  27
             3.     All outstanding discovery requests are hereby withdrawn;
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Case 2:19-cv-00088-JLS-AFM Document 21 Filed 05/17/19 Page 5 of 5 Page ID #:79



   1         4.    The parties shall not file any pleadings with the Court during the
   2 pendency of the stay, except that the government, as of the date this Order is
   3 entered, shall file status reports with the Court every 90 days informing the Court
   4 of the status of its criminal investigation; and
   5         5.    Upon the filing of the above notice by the government, the Court shall
   6 enter an order lifting the stay, so that the case may proceed.
   7
   8 DATED: ______________                   ___________________________________
                                             UNITED STATES DISTRICT JUDGE
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